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                                 UNITED STATES DISTRICT COURT FOR
                                 THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

         ART AKIANE LLC,                                       Case No. 19-cv-02952
                   Plaintiff,
                                                               Judge Edmond E. Chang
         v.
                                                               Mag. Judge Jeffrey Cole
         ART & SOULWORKS LLC,
         CAROL CORNELIUSON,
         CARPENTREE, LLC, and VIRGINIA
         HOBSON,
                   Defendants.

                                  DECLARATION OF MARK KRAMARIK

        I, Mark Kramarik, declare as follows:

               1.      I make this declaration based upon my own personal knowledge and belief, and if

        called as a witness, could testify competently as to the matters stated herein.

               2.      I am an owner and a member of Art Akiane LLC (“Art Akiane”).

               3.      Prior to the final renewal of the License Agreement between Art Akiane and Art &

        SoulWorks LLC (“ASW”), Carol Corneliuson, on behalf of ASW, traveled to and stayed in Illinois

        to discuss the parties contemplated renewal.

               4.      Thereafter, on May 18, 2016, Art Akiane and ASW executed the final renewal of

        the License Agreement in Illinois, in person.

               5.      Attached as Exhibit A to this Declaration is a photograph that fairly and accurately

        depicts Carol Corneliuson in Illinois at or around the time the parties executed the final renewal of

        the License Agreement.

               6.      From May 18, 2016 to the expiration of the License Agreement, Art Akiane

        performed all its obligations under the contract from Illinois.




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               7.      From May 18, 2016 to the expiration of the License Agreement, ASW was aware

        that Art Akiane operated its business in Illinois.

               8.      Specifically, from May 18, 2016 to the expiration of the License Agreement, ASW

        would contact Art Akiane in Illinois regarding approvals required under the contract.

               9.      In fact, during this period ASW was aware that Art Akiane was a small family run

        business with its office, art studio, storage of all original pieces of artwork, shipping & receiving,

        and family living space all conducted and located under one roof in Illinois.

               10.     As a result of being a small family run business, Art Akiane did not change its status

        as an Idaho limited liability company as a mere oversight. Further, if Art Akiane sent any invoices

        containing an Idaho address during this operative time, those were merely the result of an oversight

        and/or failure to update its forms.

               11.     From May 18, 2016 to the expiration of the License Agreement, Art Akiane

        monitored all internet sales from Illinois, maintained its bookkeeping in Illinois, and

        communicated with ASW on the phone from Illiinois.

               12.     Additionally, Art Akiane sold its products from Illinois, and all limited edition and

        original artwork was fulfilled from Illinois.

               13.     ASW was aware of, and contemplated at the time of the signing of the final renewal,

        that all of Art Akiane’s obligations under the License Agreement occurred in Illinois.

               14.     Additionally, ASW was aware that certain obligations that ASW was required to

        perform, such as payment obligations, would be due in Illinois.




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              I declare under penalty of perjury under the laws of the United States that the foregoing is

       true and correct.


       Dated: October 14, 2021




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